                           UNITED STATES DISTRICT COURT
                            DISTRICT OF MASSACHUSETTS

___________________________________________
                                            )
FRESENIUS MANAGEMENT                        )
SERVICES, INC.,                             )
                                            )
                  Plaintiff,                )
                                            )               Civil Action No.
      v.                                    )               19-11965-FDS
                                            )
STEVEN NOTTINGHAM,                          )
                                            )
                  Defendant.                )
___________________________________________ )

                          TEMPORARY RESTRAINING ORDER.
SAYLOR, J.

       Having considered the motion for a temporary restraining order by plaintiff Fresenius

Management Services, Inc., as well as the complaint, the parties’ memoranda of law and

accompanying materials, the Court finds that plaintiff has made the showing required by Fed. R.

Civ. P. 65(b) for the issuance of a temporary restraining order. Accordingly, defendant Steven

Nottingham is hereby temporarily restrained from beginning employment at U.S. Renal Care,

Inc. pending further order of the Court. This order shall expire on September 30, 2019, at 5:00

p.m. Eastern Daylight Time, unless otherwise ordered by the Court.

So Ordered.


                                                    /s/ F. Dennis Saylor IV
                                                    F. Dennis Saylor IV
                                                    United States District Judge

Dated: Boston, Massachusetts, September 19, 2019, at 1:15 p.m.
